    Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.1 Filed 12/29/21 Page 1 of 36




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

JOHN DOE, M.D.,

       Plaintiff,

v                                                         CASE NO.
                                                          HON.
THE BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, MARIE LOZON,
M.D., and JUSTIN DIMICK, M.D., Individually,

       Defendants.
                                                                         /
MIDWEST LEGAL PARTNERS, PLLC                 CUMMINGS, McCLOREY, DAVIS
By: SAIF R. KASMIKHA (P74320)                & ACHO, P.L.C.
42705 Grand River Avenue                     By: RONALD G. ACHO (P23913)
Suite 201                                    17436 College Parkway
Novi, MI 48375                               Livonia, MI 48152
(248) 344-4570                               (734) 261-2400
Attorneys for Plaintiff                      Attorneys for Plaintiff
skasmikha@midwestlegalpartners.com           racho@cmda-law.com
                                                                         /
    VERIFIED COMPLAINT AND REQUEST FOR INJUNCTIVE RELIEF
                AND DEMAND FOR TRIAL BY JURY

       NOW COMES Plaintiff, DR. JOHN DOE, M.D., by and through his

attorneys, MIDWEST LEGAL PARTNERS, PLLC, by SAIF R. KASMIKHA, and

CUMMINGS, McCLOREY, DAVIS & ACHO, PLC by RONALD G. ACHO, and

for his Verified Complaint against Defendants, states as follows:




                                         1
  Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.2 Filed 12/29/21 Page 2 of 36




      1.     Plaintiff, DR. JOHN DOE, M.D., (hereinafter “Plaintiff” or “Dr.

Doe”), at all times relevant, was a resident of the County of Oakland, State of

Michigan.

      2.     Plaintiff files this case anonymously because of the extremely

sensitive nature of the case, as Plaintiff’s stellar reputation is a critical component

to ensuring the public’s trust for him to operate on their children for complex

procedures, and Defendants’ threat to report his suspension to the National

Practitioner Data Bank and the State of Michigan Board of Medicine would cause

irreparable damage to his reputation and career. As a result, this suit will require

disclosure of information “of the utmost intimacy”, and therefore, Plaintiff is

entitled to protect his identity in this public filing by not disclosing his name. Doe

v. Porter, 370 F.3d 558, 569 (6th Cir. 2004), citing Doe v. Stegall, 653 F.2d 180,

185-186 (5th Cir., 1981). See also Doe v. Community Medical Center, 353 Mont.

378; 221 P.3d 651 (Mont. 2009).

      3.     The University of Michigan is a public university organized and

existing under the laws of the State of Michigan, and is located in the City of Ann

Arbor, County of Washtenaw, State of Michigan.

      4.     The University of Michigan Health System is a hospital and health

system operated by the University of Michigan, in the city of Ann Arbor, County

of Washtenaw, State of Michigan. (The University of Michigan and the University


                                           2
  Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.3 Filed 12/29/21 Page 3 of 36




of Michigan Health System are hereinafter collectively referred to as “Michigan

Medicine”).

      5.      Defendant, The Board of Regents of the University of Michigan, is a

body corporate, with the right to be sued, vested with government of the University

of Michigan. MCL § 390.3 and § 390.4.

      6.      Defendant The Board of Regents of the University of Michigan is

located in the city of Ann Arbor, County of Washtenaw, State of Michigan.

      7.      Defendant, Marie Lozon, M.D., is employed by Defendant, The Board

of Regents of the University of Michigan through Michigan Medicine, in the City

of Ann Arbor, County of Washtenaw, State of Michigan.

      8.      Defendant, Justin Dimick, M.D., is employed by Defendant, The

Board of Regents of the University of Michigan through Michigan Medicine and

the Chair of the Department of Surgery, in the City of Ann Arbor, County of

Washtenaw, State of Michigan.

      9.      The amount in controversy herein exceeds $75,000.00 exclusive of

interest, costs and attorney fees.

      10.     Venue and jurisdiction are otherwise proper within this Court.

                              COMMON ALLEGATIONS

      11.     Throughout his years in practice, Plaintiff has established himself as a

world-renowned surgeon at the pinnacle of his field.


                                          3
  Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.4 Filed 12/29/21 Page 4 of 36




      12.    Dr. Doe is a Tenured Professor of Surgery in the Section of Plastic &

Reconstructive Surgery, holds an Endowed Chair in the Department of Surgery,

and holds a joint appointment as a Professor of Neurosurgery at the University of

Michigan Medical School.

      13.    Dr. Doe has practiced for 33 years as a surgeon, with 28 years as a

plastic surgeon, specializing in craniofacial surgery, craniofacial anomalies, cleft

lip, cleft palate, and craniosystosis.

      14.    Dr. Doe is the Director of the Craniofacial Anomalies Program at the

University of Michigan Medical Center and the Chief of Pediatric Plastic Surgery

at the C.S. Mott Children's Hospital.

      15.    Dr. Doe is a past Chairman of the Plastic Surgery Research Council,

past President of the American Society of Maxillofacial Surgery, past president of

the American Society of Craniofacial Surgery, past President of the Michigan

Academy of Plastic Surgery, and currently on the board of the American

Association of Plastic Surgery.

      16.    Dr. Doe has won numerous awards for his excellence in teaching,

research, and clinical care; lectures worldwide as an invited speaker on the science

and practice of craniofacial surgery; and has also authored many book chapters,

and published a substantial number of articles in peer reviewed journals.




                                         4
  Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.5 Filed 12/29/21 Page 5 of 36




      17.      Dr. Doe has been invited and paid to give Named Lectureships,

Keynote speakerships, Expert Panels and Teaching Symposiums both nationally

and internationally throughout the world.

            a. Major venues include, but are not limited to: Sweden, Egypt,
               Switzerland, Greece, Romania, Mexico, France, South Africa,
               Germany, Brown University. University of Pennsylvania, Chicago,
               Harvard (Boston Children’s Hospital), Columbia University,
               Northwestern University, Cleveland Clinic, Yale University, and the
               University of Pittsburgh.

            b. The above named venues are just a sampling of over 47 extramural
               invited presentations and 31 visiting Professorships.

      18.      Dr. Doe recently won a plastic surgery achievement award from the

American Association of Plastic Surgeons (AAPS) and was named the

organizations visiting professor for 2019.

            a. The AAPS is the oldest and most prestigious national plastic surgical
               organization in the country. They limit their membership to no more
               than the top 5-10% of all plastic surgeons by strict criteria of
               accomplishment in the field. Those plastic surgeons then named Dr.
               Doe as their visiting professor to represent their organization and pay
               for him to lecture and teach cutting edge plastic surgery concepts, all
               over the country, for that year to academic institutions, training
               programs and smaller groups of surgeons across the nation.

            b. Dr. Doe was also prestigiously named the American Society of
               Maxillofacial Surgeons (ASMS) visiting professor in 2009-2010 and
               that organization also paid for him to lecture and teach nationwide at
               multiple venues under their banner.




                                            5
  Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.6 Filed 12/29/21 Page 6 of 36




       19.      Dr. Doe has personally mentored over 200 Undergraduate &

Graduate Students, Residents, & Post-Doctoral Fellows in Plastic Surgery

Research.

             a. By any standard, this is a large number of individuals for mentorship
                in this field.

             b. This places Dr. Doe among one of the highest of any plastic surgery
                professor in the country in terms of mentorship.

       20.      He has won or secured $10,175,000 in Grants as Principle

Investigator, Co-investigator and mentor from the NIH, foundations, and research

sponsors.

             a. Over Ten Million Dollars ($10,000,000.00) in funding was brought
                into the University of Michigan.

             b. This number is even higher when taking into account indirect dollars
                that the University of Michigan gets from receiving such grants.

             c. This puts Dr. Doe in the top 5% of all plastic surgeons in the country
                and perhaps the world with regard to the securing of grant funding for
                his institution.

       21.      Dr. Doe is the only Plastic Surgeon in the country/world that is the

principal investigator of a plastic surgery training grant from the National Institutes

of Health to teach surgical trainees from all over the country on how to become

surgical scientists.

             a. This includes a 10-year commitment for this highly competitive grant
                from the NIH, getting the first grant of 5 years with a renewal now for
                another 5 years.


                                            6
  Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.7 Filed 12/29/21 Page 7 of 36




            b. No other plastic surgeon has such a grant in the country/world.

            c. This brings prestige to Dr. Doe but also the institution.

      22.      He has 2 U.S. patents.

            a. The most recent also received a commitment for over $150,000 by
               winning a University of Michigan Department of Surgery Shark Tank
               competition to help develop and bring the patented technology to
               market.

            b. Very few plastic surgeons have patents but the most recent patent was
               paid for by the University because of their confidence in his discovery
               and the potential to profit significantly if/when commercialized.

            c. While the Department of Surgery is undermining Dr. Doe, it is also
               investing a significant sum of money to bring his clinically related
               discoveries to market.

            d. The Office of Technology transfer is paying fees well in excess of
               $100,000 to patent Dr. Doe’s discoveries.

      23.      Dr. Doe won the best published plastic surgery paper award of the

year in multiple years including 2004, 2011, two in 2013, and 2015 from multiple

national plastic surgery organizations.

            a. These awards are given out after committees of national organizations
               look at nominated papers in plastic surgery published in peer reviewed
               journals that year and are deemed the best paper for that year as voted
               on by his peers.

            b. To win this five separate times is a real accomplishment and puts Dr.
               Doe at the upper echelon of plastic surgeons in the country/world for
               his contributions to the field.




                                            7
  Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.8 Filed 12/29/21 Page 8 of 36




      24.      Dr. Doe, or residents on his behalf, have won 28 best presentations

awards from regional, national, and international meetings for Investigative

Papers.

            a. Dr. Doe won a coveted Ivy award for the best presentation at the
               largest plastic surgery meeting the country.

            b. These very competitive awards, won repeatedly over 30 years,
               demonstrates the excellence, high regard, and esteem that his work
               has been judged to hold within the national and international plastic
               surgery community but also the enduring, life-long, consistency of
               those contributions over time.

      25.      Dr. Doe has won the Bristol-Myers Squibb National Academic

Medicine Mentor for Minority Students and the Michigan Institute for Clinical

& Health Research (MICHR) Distinguished Clinical and Translational Research

Mentor Award and won 2 separate Teaching Awards voted on and awarded by

clinical residents.

      26.      Dr. Doe has over 340 clinical and research articles published in peer

reviewed scientific journals and      his scientific and clinical papers have been

presented at over 525 local, regional, national and international medical/surgical

meetings.

      27.      Dr. Doe has served as President or leader of multiple national and

regional plastic surgery organizations. This includes the American Society of

Maxillofacial Surgeons, The Plastic Surgery Research Council, the American

Society of Craniofacial Surgery, and the Michigan Academy of Plastic
                                          8
  Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.9 Filed 12/29/21 Page 9 of 36




Surgeons. He is also currently on the board of the American Association of Plastic

Surgeons (AAPS) the oldest and most prestigious plastic surgery organization.

      28.      Dr. Doe has authored and co-edited two (2) major plastic surgery

texts, one of which is considered to be the authoritative atlas/text in craniofacial

surgery.

            a. He has also authored or co-authored 21 chapters in plastic surgery
               textbooks.

            b. These texts and chapters attest to his standing in the field of plastic
               and craniofacial surgery as an expert and respected authority both
               nationally and throughout the world.

      29.      His active participation in multiple departments underscores the

multidisciplinary nature of his clinical and research activities.

      30.      Recognizing this fact, Dr. Doe has also been used personally,

including his likeness, for many promotional materials for the University of

Michigan, including posters, signs, and ads. (See Exhibit A: Promotional

Materials, provided under seal).

      31.      From any objective standpoint, Dr. Doe has an unblemished clinical

record.

      32.      Over 25 years at the University of Michigan, any audits, reviews for

insurance approval and billing purposes, and reviews by Risk Management/Office

of Clinical Safety have raised no practice or documentation concerns, other than

routine matters.
                                             9
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.10 Filed 12/29/21 Page 10 of 36




      33.   He has no significant patient complaints about his care, including any

by patients who may have experienced complications.

      34.   His relationships with patients is, and has always been, excellent.

      35.   All objective measures of performance, as a medical doctor, have

similarly raised no concerns.

      36.   The matter before the Court today arises because of his mistreatment

by Defendant Michigan Medicine, despite his impressive educational, clinical, and

research accomplishments, Dr. Doe is a man of integrity performing lifesaving and

life changing procedures for children.

      37.   These exemplary traits are recognized by others in the departments in

which he serves, and his colleagues have sought him out for guidance, advocacy,

and mentorship, particularly when seeking support in what has become a

progressively more hostile work environment.

      38.   On more than one occasion, Dr. Doe approached Michigan Medicine

leadership to report concerning administrative practices, particularly related to

transparency and accountability.

      39.   Shortly after Dr. Doe raised his concerns, Michigan Medicine, all of a

sudden, decided to bring up three recent non-event matters—none of which had a

negative outcome or harmful consequence.




                                         10
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.11 Filed 12/29/21 Page 11 of 36




      40.     Michigan Medicine used those three recent matters as a basis for

suspending Dr. Doe’s clinical privileges indefinitely, and advising they were going

to report him to the State of Michigan Board of Medicine, and they were going to

report him to the National Practitioner Data Bank (NPDB), which they did.

      41.     Each of those matters were reviewed and investigated and shown as

non-issues.

      42.     But Michigan Medicine, through another department, the Office of

Clinical Affairs (OCA), has decided to reopen these matters and conduct a peer-

reviewed determination of Dr. Doe’s future, along with the future of his patients.

      43.     At the outset, administrative best practices and Michigan Medicine

polices, including preservation of confidentiality, were violated.

      44.     Dr. Doe was forced to complete a program that would address

behavioral concerns and had to travel to Kansas to do so. Peers who participated in

this program include physicians who have suffered from substance abuse problems

and those who have engaged in violative behavior such as engaging in sexual

encounters with patients. Dr. Doe has not done such things and has never been

accused by any employer of doing so.

      45.     Dr. Doe, for no good or explained reason, has been prohibited from

practicing for over 9 months.




                                          11
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.12 Filed 12/29/21 Page 12 of 36




      46.    Dr. Doe was informed by Marie Lozon, clearly and repeatedly, that

this “investigation” and process will take more than 30 days.

      47.    Dr. Doe was informed by Marie Lozon, in writing, clearly and

repeatedly, that his suspension will be reported to the NPDB and the State of

Michigan Board of Medicine because it will exceed that 30-day timeframe.

      48.    In essence, Dr. Doe was informed that he will have these public

blemishes on his record before the matter is even thoroughly investigated, let alone

concluded. (See Exhibit B: 3/27/2021 notice regarding rights to hearing,

provided under seal.)

      49.    Dr. Doe was given 30 days to formally request a Fair Hearing, an

internal process within Michigan Medicine’s guidelines—he promptly exercised

that right and made that request.

      50.    Based on information, belief, current and past experience with

Michigan Medicine, it is possible that Dr. Doe could be suspended from practice

for at least another two years!

      51.    Based on information, belief, current and past experience with

Michigan Medicine, it is possible that Dr. Doe will not have a Fair Hearing for at

least another year and a half!

      52.    He has therefore been compelled to retain counsel at his own expense.




                                         12
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.13 Filed 12/29/21 Page 13 of 36




       53.    This action, if allowed to occur, will result in permanent and

irreparable harm to Dr. Doe and his sterling reputation.

       54.    This report further harms his impeccable reputation in the medical

community, both nationally and internationally.

       55.    Dr. Doe has not had the benefit of due process, and the findings of the

OCA investigation have not been subject to validation or appropriate scrutiny.

       56.    Even if anyone could believe the findings have any merit, there is no

basis whatsoever for the refusal in terms of medical competency or ability to

practice in his field.

       57.    Dr. Doe’s medical competency or ability has not only been

unquestioned, but praised throughout his career at Michigan Medicine. That is

why the current actions of Michigan Medicine are so reprehensible.

       58.    The three de minimis matters raised involve a tiny fraction of Dr.

Doe’s extensive craniofacial and plastic surgery practice and his illustrious multi-

decade career, and are without merit.

       59.    Finally, a fair hearing still has not been conducted, will likely not be

conducted for at least another year and a half, and the serious flaws of the process

so far have been clearly and extensively documented in earlier correspondence to

Michigan Medicine.




                                          13
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.14 Filed 12/29/21 Page 14 of 36




       60.    The actions of the Defendants are not only retaliatory, but part and

parcel of a pattern of conspiracy against his return to practice at Defendant,

Michigan Medicine.

       61.    Dr. Doe has raised legitimate concerns regarding administrative

practices to the Department of Surgery and the Office of Clinical Affairs.

       62.    The actions of the Defendants have already and will do additional and

irreparable harm to Dr. Doe, his patients, his colleagues, and the clinical programs

that he directs.

       63.    Due to the abrupt manner in which his clinical privileges were

revoked, numerous patients had critical surgeries delayed or canceled.

Irreparable Harm to Michigan Medicine Programs and Patients

       64.    Dr. Doe has spent nearly 30 years building his reputation in plastic

and reconstructive surgery, including craniofacial anomalies, cleft palate, cleft lip,

craniosystosis, and other pediatric plastic surgery innovations at Michigan

Medicine.

       65.    The actions of the Defendants have caused significant and potentially

irreparable harm to these programs.

       66.    The negative experience for the patients who had entrusted Michigan

Medicine with their care has badly injured the previously strong relationship of

these Michigan Medicine programs and referring physicians.


                                         14
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.15 Filed 12/29/21 Page 15 of 36




      67.    This has been expressed emphatically by patients and schedulers.

Switching physicians, abrupt rescheduling and cancellations, and other

adjustments, have reduced the confidence of parents already faced with the very

difficult and unenviable position of surgery on the face or skulls of their young

children.

Irreparable Harm to Dr. Doe Himself- Reputational and Social Harm

      68.    The damage to Dr. Doe’s reputation are both very real and substantial

and cannot be adequately compensated financially.

      69.    His absence is noticed and duly noted.

      70.    The actions of the Defendants have irreparably damaged the

reputation of Dr. Doe without due process or even completion of the badly flawed

investigative process.

      71.    A full reinstatement to practice until an investigation is concluded is

the only equitable resolution at this time since patient safety is not at issue.

      72.    Until an investigation reveals otherwise after a conclusive finding, the

suspension should be lifted and Defendants should be enjoined from providing any

adverse reports to the State of Michigan Board of Medicine and NPDB.

Professional Harm

      73.    Even a temporary loss of privileges does enormous and irreparable

damage to Dr. Doe professionally, far beyond its financial effects.
                                          15
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.16 Filed 12/29/21 Page 16 of 36




      74.   Hospital credentialing applications universally ask questions which

Dr. Doe, to date, has been able to answer in the negative, but which will now

require an affirmative response, even after he is cleared of any and all concerns.

These standard questions include:

      • Has your professional employment ever been suspended, diminished,
        revoked or terminated at any hospital or healthcare facility or are any
        proceedings that may result in any such action currently pending?

      • Has your medical staff appointment/privileges ever been limited,
        suspended, diminished, revoked, refused/denied, terminated, restricted,
        not renewed, relinquished (whether voluntarily or involuntarily) at any
        hospital or healthcare facility or are proceedings currently pending which
        may result in any such action?

      • Have you ever withdrawn (or voluntarily relinquished) your application
        for appointment, re-appointment or privileges or resigned from the
        medical staff because disciplinary action** or loss or restriction of
        clinical privileges was threatened or before a decision about your
        appointment and/or privileges was rendered by a hospital’s or healthcare
        organization’s governing board?

      • Have you ever been the subject of disciplinary action or proceedings at
        any healthcare facility?

      • Have you ever been investigated for scientific misconduct?

Reporting to the National Practitioner Data Bank compounds this impact.

      75.   Hospitals and state licensing boards considering a physician's

application for hospital privileges or a state medical license are permitted by

statute to "query" information in the NPDB and often procedurally required to do

so.

                                       16
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.17 Filed 12/29/21 Page 17 of 36




      76.     Hospitals query the NPDB for the granting, maintenance, or

expansion of a physician’s clinical privileges, including temporary locum tenens

privileges.

      77.     Therefore, any adverse actions reported on the NPDB will be

scrutinized by any future prospective hospital employer or medical organization, or

any other organization.

      78.     Additionally, once a report is filed with the NPDB there may be

updates or opportunities for the subject to respond, but the original report cannot

be removed.

      79.     Therefore, its report to the NPDB will likely trigger disciplinary

inquiries by other entities.

      80.     The aggressive manner in which Michigan Medicine has chosen to

conduct the investigation of Dr. Doe appears to have been constructed to inflict

maximum retributive damage to his reputation, even before the investigation was

underway.

      81.     The impacts of loss of hospital privileges and reporting to the NPDB

do not fully describe the limits to the irreparable professional damage to Dr. Doe.

      82.     Loss or limitation of hospital privileges can result in loss of American

Board of Plastic Surgery Certification.




                                          17
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.18 Filed 12/29/21 Page 18 of 36




      83.    This certification requires that hospital privileges be unrestricted and

that there be no adverse actions by the hospital.

      84.    Board Certification is a requirement of new privileging in multiple

centers.

      85.    The actions of the Defendants will place a permanent red flag on any

future application by Dr. Doe for privileges.

      86.    In fact, Defendants recently took action denying Plaintiff’s renewal

of his clinical privileges, essentially converting the “recommendation” into a

material adverse action before the internal adjudication has even been scheduled

and violating its own rules yet again.

      87.    The actions of Michigan Medicine, if allowed to remain, will

permanently short-circuit the life’s work of Dr. Doe. He may no longer be a board-

certified plastic surgeon.

      88.    Finally, there is a long-lasting snowball effect. Federal laws and

regulations governing the Medicare and Medicaid programs and the National

Practitioner Data Bank (NPDB) are of paramount importance in the insurance and

credentialing contexts for the medical profession.

      89.    Highly prejudicial disciplinary action (e.g., any loss of license or

material restriction on practice, etc.) reported against a physician, can result in




                                          18
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.19 Filed 12/29/21 Page 19 of 36




disciplinary or legal “piling on” by other health care entities and insurance

networks.

      90.    Due to the actions of Michigan Medicine, despite his previously

impeccable reputation, Dr. Doe might not meet the professional or ethical

qualifications required by credentialing entities and will face an uphill battle to

maintain his license, certifications, and insurance provider contracts.

      91.    Michigan Medicine has taken the extra step of recommending a

revocation of his clinical privileges, effectively ending his career and putting a

permanent blemish on his reputation.

      92.    The revocation is a recommendation, not yet an action, and thus will

not be reported to the NPDB at this time.

      93.    However, in an attempt to leverage a resignation, Michigan Medicine

has unilaterally cut 60% of Dr. Doe’s salary during the suspension (which is being

challenged concurrently with the revocation) while Dr. Doe exercises his

administrative remedies.

      94.    This 60% salary cut is not only egregious and being done in bad faith,

it suggests that the outcome is foreordained despite Dr. Doe’s right to a fair

hearing.

      95.    The 60% salary cut would also prevent Dr. Doe’s ability to maintain

legal counsel while being forced to face multiple legal battles, including:


                                          19
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.20 Filed 12/29/21 Page 20 of 36




            a. An administrative process to challenge the salary reduction.

            b. An administrative process to challenge the suspension.

            c. An administrative process to challenge the revocation.

            d. A legal battle in court to address all of these issues at once.

Psychological Harm

      96.      Dr. Doe has already suffered irreparable psychological harm which

will be only compounded by the actions of Michigan Medicine to rescind his

credentialing.

      97.      The trauma of working in a hostile environment, being subject to

public humiliation by colleagues, isolation from colleagues, prevention from

mentoring future surgeons, significant reduction in compensation, and the stress of

persistent accusations and investigations, has done enormous psychological harm

to Dr. Doe.

      98.      The unjustified loss of privileges, together with the stress that comes

with knowledge of the professional harm and the experience of the reputational

harm caused by the actions of the Chief of Surgery and the Michigan Medicine

Administration, caused further and potentially irreversible psychological harm.

      99.      As in other cases of abuse, the mental trauma is long-lasting and can

damage the individual as well as the family.

                                             20
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.21 Filed 12/29/21 Page 21 of 36




          COUNT I- 42 U.S.C. § 1983 – FOURTEENTH AMENDMENT

                             Procedural Due Process
                           Property and Liberty Interests

      100. Plaintiff repeats and realleges all foregoing paragraphs as if they were

fully set forth herein.

      101. The Fourteenth Amendment to the United States Constitution

provides that no state shall “deprive any person to life, liberty, or property, without

due process of law.”

      102. Fourteenth Amendment due process protections are required in higher

education disciplinary decisions at public institutions where, as here, professors

have a property interest in their positions.

      103. Plaintiff has a property interest in his medical staff privileges and his

salary.

      104. These staffing privileges allow him to practice medicine and treat

patients, something Plaintiff has earned after many years of training.

      105. Plaintiff was stripped of this right by Defendants without due process.

      106. This was done in a manner that violated the 14 th amendment and the

hospital’s own policies.

      107. This would have required a fair hearing that has not yet taken place.

      108. Plaintiff has a protected liberty interest in his good name, reputation,

honor, integrity, and character, and in pursuing his chosen profession in which he
                                           21
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.22 Filed 12/29/21 Page 22 of 36




has developed a national and international reputation, and which he cannot be

deprived of by the state absent due process.

       109. That liberty interest is subject to the protections afforded by the

Fourteenth Amendment to the Constitution of the United States.

       110. Plaintiff was entitled to a process commensurate with the seriousness

of the allegations against him and the potential discipline, sanctions, and

repercussions he was facing. Here the allegations were of the utmost seriousness

and have life-long ramifications.

       111. There would have been no undue burden on Defendants to swiftly and

efficiently provide due process-- and refrain from any negative reporting until that

process is completed, in that the University already provides these due process

protections to professors in their policies.

       112. Plaintiff has a significant interest in his practice, his salary, hospital

privileges, reappointment, medical staff membership and privileges, and

recertification.

       113. Defendants intentionally withheld from Plaintiff all due process

protections.

       114. Because the University provided a Fair Hearing process, it had the

obligation to ensure that the process was completed in accordance with due process

protections as proscribed by the United States courts and its own Policies and


                                           22
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.23 Filed 12/29/21 Page 23 of 36




Statements, before exercising any authority it may have to issue negative reports to

administrative bodies that would be made public.

      115. Plaintiff has suffered irreparable harm to his reputation as a result of

such actions—including the denial of his clinical privileges and an upcoming

scathing and defamatory report to the State of Michigan Board of Medicine and

NPDB.

      116. Plaintiff will suffer years of continuous financial damage as a result of

this deprivation of his due process. This includes loss of referrals from colleagues,

less procedures that will be performed, and potential employment and salary

prospects.

      117. Defendants violated their own policies and guidelines with regard to

Plaintiff’s due process rights, including their arbitrary salary reduction.

      118. This requires physicians to have access to a fair hearing and appellate

review when the medical staff makes an adverse decision regarding the medical

privileges of a physician.

      119. Defendants’ denial of due process to Plaintiff was arbitrary and

capricious, deliberately indifferent and fundamentally unfair.

      120. As a direct and proximate result of Defendants’ unlawful actions,

Plaintiff has suffered irreparable harm, injury and damages, including but not

limited to loss of career opportunities and earning capacity; damage to his standing


                                           23
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.24 Filed 12/29/21 Page 24 of 36




and associations in his community and imposition of a stigma or other disability

that forecloses his freedom to take advantage of other employment opportunities;

mental and emotional distress; humiliation and embarrassment; loss of personal

and professional reputation;

      WHEREFORE, Plaintiff is entitled to actual damages, statutory damages,

costs, and reasonable attorney fees.

                      COUNT II - BREACH OF CONTRACT

      121. Plaintiff repeats and realleges all foregoing paragraphs as if they were

fully set forth herein.

      122. Defendants’ violations of the medical staff by-laws constitute a breach

of contract.

      123. Defendants repeatedly breached that contract by ignoring specified

procedural requirements of the standard practice guide (SPG) and the by-laws.

Defendants committed other specified violations of the SPG and by-laws in

implementing its adverse actions.

      124. Defendants failed to follow its own bylaws when taking disciplinary

actions against Dr. Doe. This includes specifically, but not limited to the following:

          a. Regents Bylaw Sec. 5.09

          b. Section 8.2-6 ECCA Action.

          c. Section 8.2-6 Exercise or Waiver of Procedural Rights


                                          24
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.25 Filed 12/29/21 Page 25 of 36




          d. Section 8.7- Precautionary Suspension or Restriction.

      125. The specific nature of each violation was brought to the attention of

Defendants in a letter. (See Exhibit C: 4/27/2021 correspondence regarding

formal hearing request, provided under seal.)

      WHEREFORE, Plaintiff is entitled to actual damages, statutory damages,

costs, and reasonable attorney fees.

       COUNT III - BREACH OF FIDUCIARY AND PUBLIC DUTIES

      126. Plaintiff repeats and realleges all foregoing paragraphs as if they were

fully set forth herein.

      127. Defendant has a duty to its staff and the community at large to operate

the hospital in the interest of public health care.

      128. Defendant has a duty to operate the hospital in a manner which

permits the staff to meet its professional obligations to patients.

      129. Defendants violated these duties by suppressing dialogue and debate

regarding patient care issues.

      130.    Defendants violated these duties by ignoring the hospital and medical

staff by-laws.

      131. Defendants violated these duties by improperly influencing members

of hospital and staff committees.

      132. Defendants violated these duties by intimidating Plaintiff.


                                           25
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.26 Filed 12/29/21 Page 26 of 36




      133. Defendants violated these duties by referring Plaintiff to an institute in

Kansas for the purpose of cementing the damage to his reputation.

      134.    A separate opinion by a psychologist sent by UM found the opinions

in the records produced by Defendant to be problematic and skewed.

      135. It later became evident that this referral was made with malice.

      136. Defendants violated these duties by retaliating against Plaintiff, by

taking disciplinary action against Plaintiff, and by suspending his clinical

privileges in a manner inconsistent with Michigan Medicine’s policies and

delaying continuity of care and treatment with patients that sought his services.

      WHEREFORE, Plaintiff is entitled to actual damages, statutory damages,

costs, and reasonable attorney fees.

 COUNT IV - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

      137. Plaintiff repeats and realleges all foregoing paragraphs as if they were

fully set forth herein.

      138. Defendants’ actions, statements, and conduct were, and continue to

be, extreme, outrageous, and beyond the bounds of common decency in a society.

      139. The Defendants are well-versed in the practice of medicine and the

operations of a health system to know the effects such actions would have on a

physician’s career, ability to earn a living, and emotional psyche.

      140. Defendants’ actions were intentional.


                                         26
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.27 Filed 12/29/21 Page 27 of 36




       141. Defendants acted with the intent to inflict emotional distress upon

Plaintiff.

       142. Defendants sought to undermine the respect, credibility, and

reputation of a seasoned physician with an impeccable reputation and to extend

that diminution of stature to his very own residents in training.

       143. The actions of Michigan Medicine have wantonly damaged programs

that the Plaintiff has spent decades building. Loss of morale among the team

leading individuals to resign from their positions. The Plaintiff feels enormous

distress due to the negative impacts on patients and colleagues.

       144. As a result, if all findings are in favor of the Plaintiff, Defendants’

stated policies call for the removal of clinical privileges at the hospital.

       145. Defendants undermined the relationship between the Plaintiff and

trainees.

       WHEREFORE, Plaintiff is entitled to actual damages, statutory damages,

costs, and reasonable attorney fees.

                           COUNT V - RETALIATION

       146. Plaintiff repeats and realleges all foregoing paragraphs as if they were

fully set forth herein.




                                           27
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.28 Filed 12/29/21 Page 28 of 36




      147. Punishment of an employee by an employer for engaging in legally

protected activity such as making a complaint of harassment or participating in

workplace investigations.

      148. Retaliation can include any negative job action, such as demotion,

discipline, firing, salary reduction, or job or shift reassignment.

      149. Plaintiff cited the following concerns: Plaintiff sent two letters that

were very critical of how the health system operated along with an editorial

criticizing how things were done at the medical center from both an administrative

as well as a clinical standpoint. Plaintiff also cited the extent of the involvement of

Mike Mulholland, then-Chairman of the Department of Surgery in rearranging

staff and leadership.

      150. One such letter is an editorial titled “Are the New Changes in Our

Operating Rooms Really Making Us Safer and Better Surgeons?” published in

2013 by Dr. Doe in one of the major journals of the University.

      151. Mike Mulholland is currently the Vice Senior associate dean of

clinical affairs in the Medical School, effective June 1, 2019. He had served as

executive director of the University of Michigan Medical Group (UMMG) since

January 2019.

      152. Following Plaintiff’s citation of these concerns, a dramatic shift in

behavior and tone came from Defendants, followed by subsequent adverse actions.


                                           28
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.29 Filed 12/29/21 Page 29 of 36




      153. The response of the Defendants has been to ignore these issues in

favor of retaliatory professionalism complaints against the Plaintiff.

      154. When the Plaintiff raised professionalism concerns, they were

dismissed by Defendants.

      155. All of these matters were in direct retaliation to Plaintiff’s legally

protected activity involving improper conduct in the workplace and his subsequent

complaint to the appropriate leadership chain.

      WHEREFORE, Plaintiff is entitled to actual damages, statutory damages,

costs, and reasonable attorney fees.

                          COUNT VI - INJUNCTIVE RELIEF

      156. Plaintiff repeats and realleges all foregoing paragraphs as if they were

fully set forth herein.

      157. At all times relevant hereto, Defendants acted under color of state law

to deprive Plaintiff of property interests protected by the Constitution of the United

States of America.

      158. The property rights asserted herein are clearly established and

expressly enumerated in the plain test of the Fourteenth Amendment.

      159. As a result of the wrongful actions of Defendants, Plaintiff has been

wrongfully deprived of his property interests by governmental action by state

actors, without due process of law.


                                          29
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.30 Filed 12/29/21 Page 30 of 36




      160. The deprivations of property interests were caused by wrongful,

administrative actions that demonstrated a deliberate indifference to whether harm

would result to Plaintiff.

      161. Defendants each objectively and individually knew of facts from

which a substantial risk of harm could be inferred, and Defendants each

subjectively and individually did infer such risk of harm to Plaintiff.

      162. Alternatively, Defendants’ actions causing the deprivations of

Plaintiff’s property interests were taken for reasons that were arbitrary, capricious

and/or shock the conscience.

      163. Because of Defendants’ deliberately indifferent, arbitrary, capricious,

and conscious-shocking conduct, Plaintiff has been deprived of his property

interests without due process of law.

      164. As a direct and proximate result of Defendants’ conduct Plaintiff has

suffered extensive damages, past, present, and future, including but not limited to:

to loss of career opportunities and earning capacity; damage to his standing and

associations in his community and imposition of a stigma or other disability that

forecloses his freedom to take advantage of other employment opportunities;

mental and emotional distress; humiliation and embarrassment; loss of personal

and professional reputation.




                                          30
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.31 Filed 12/29/21 Page 31 of 36




      165. Plaintiff demands injunctive relief to return Plaintiff to the status quo,

as the Court may deem equitable under the circumstances, including but not

limited to reinstatement to his practice, hospital privileges, reappointment, medical

staff membership and privileges, and recertification—along with a maintenance

(no reduction of any kind) to his current salary.

                              RELIEF REQUESTED

      Plaintiff demands judgment against Defendants as follows:

      A.     Equitable Relief:

                1. An order that prohibits Defendants and any of its employees or
                   any other representative of Defendants from notifying the
                   NPDB or State of Michigan Board of Medicine of Plaintiff
                   suspension.

                2. An order that reinstates Plaintiff into full practice unless a
                   formal investigation is concluded finding that his continued
                   practice would constitute a threat to patient safety.

                3. An order that prevents Michigan Medicine from reducing Dr.
                   Doe’s salary in any way until all allegations that have been
                   brought against him are fully adjudicated and brought to a
                   conclusion.

                4. An Order putting Plaintiff into the position he would have been
                   absent a violation of his rights and finding against him;

                5. A ruling that, as a matter of law, Plaintiff’s due process rights
                   were violated;

                6. An award of interest, costs and reasonable attorney fees; and

                7. Whatever other equitable relief appears appropriate at the time
                   of final judgment.
                                          31
Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.32 Filed 12/29/21 Page 32 of 36




    B.    Legal Relief:

             1. Twelve Million ($12,000,000) Dollars compensatory damages
                in whatever amount he is found to be entitled;

             2. Exemplary damages in whatever amount he is found to be
                entitled;

             3. Twenty Million ($20,000,000) Dollars punitive damages in
                whatever amount he is found to be entitled; and

             4. An award of interest, costs, reasonable attorney fees, and expert
                witness fees.

             5. Clinical privileges restored;

             6. Board Certification renewed; and

             7. Name cleared in the NPDB with a full retraction statement.




                                      32
Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.33 Filed 12/29/21 Page 33 of 36




                                         VERIFICATION



             I, Dr.                    M.D., verify that I have read the above Complaint and

      its contents. I also verify that to the best of my knowledge and recollection, the

      matters stated in the Complaint are true and correct.

      Dated: December 22, 2021
                                                              Dr.                           , M.D.




     -Signed before me by Dr.                 , M.D., on the 22nd day of December, 2021.


                                    aduw&uL^-                                   -—    —   •--   —


                                                                            KIMBERLYANN BLACKMORE
                                                                                                    ~-—-




                                                                         Notary Public - State of Michigan
                                                                                County of Monroe
                                                                        My Commission Expires Nov 6. 2027 .
      Notary public, State of Michigan, County of Monroe                cting inthe County of MK^yWlM
                                                                       Acting

      My commission expires: November 6, 2027
      Acting in the County of Washtenaw




                                              33
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.34 Filed 12/29/21 Page 34 of 36




                             Respectfully submitted,

                             /s/ Saif R. Kasmikha
                             Saif R. Kasmikha (P74320)
Dated: December 29, 2021     Midwest Legal Partners, PLLC
                             Attorney for Plaintiff
                             42705 Grand River Avenue, Suite 201,
                             Novi, MI 48375
                             Office: (248) 344-4570
                             E-mail: skasmikha@midwestlegalpartners.com

                             Ronald G. Acho
                             Cummings, McClorey, Davis & Acho, P.L.C.
                             17436 College Parkway
                             Livonia, MI 48152
                             (734) 261-2400
                             Attorney for Plaintiff
                             Email: racho@cmda-law.com
                             P-23913




                                     34
    Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.35 Filed 12/29/21 Page 35 of 36




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JOHN DOE, M.D.,

        Plaintiff,

v                                                         CASE NO.
                                                          HON.
THE BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, MARIE LOZON,
M.D., and JUSTIN DIMICK, M.D., Individually,

        Defendants.
                                                                          /
MIDWEST LEGAL PARTNERS, PLLC                 CUMMINGS, McCLOREY, DAVIS
By: SAIF R. KASMIKHA (P74320)                & ACHO, P.L.C.
42705 Grand River Avenue                     By: RONALD G. ACHO (P23913)
Suite 201                                    17436 College Parkway
Novi, MI 48375                               Livonia, MI 48152
(248) 344-4570                               (734) 261-2400
Attorneys for Plaintiff                      Attorneys for Plaintiff
skasmikha@midwestlegalpartners.com           racho@cmda-law.com
                                                                          /


                        DEMAND FOR TRIAL BY JURY


        NOW COMES the Plaintiff, JOHN DOE, M.D., by and through his

attorneys, MIDWEST LEGAL PARTNERS, PLLC, by SAIF R. KASMIKHA, and

CUMMINGS, McCLOREY, DAVIS & ACHO, PLC by RONALD G. ACHO and

hereby demands trial by jury of the above-entitled cause of action.




                                         1
 Case 2:21-cv-13032-NGE-CI ECF No. 1, PageID.36 Filed 12/29/21 Page 36 of 36




                             Respectfully submitted,

                             /s/ Saif R. Kasmikha
                             Saif R. Kasmikha (P74320)
Dated: December 29, 2021     Midwest Legal Partners, PLLC
                             Attorney for Plaintiff
                             42705 Grand River Avenue, Suite 201,
                             Novi, MI 48375
                             Office: (248) 344-4570
                             E-mail: skasmikha@midwestlegalpartners.com

                             Ronald G. Acho
                             Cummings, McClorey, Davis & Acho, P.L.C.
                             17436 College Parkway
                             Livonia, MI 48152
                             (734) 261-2400
                             Attorney for Plaintiff
                             Email: racho@cmda-law.com
                             P-23913




                                      2
